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   Received Electronically
      January 19, 2023
   United States Court of Appeals
        For the First Circuit
                                          No. 23-______


                        IN THE UNITED STATES COURT OF APPEALS
                                 FOR THE FIRST CIRCUIT


             IN RE REPORTERS COMMITTEE FOR FREEDOM OF THE PRESS

                                                  Petitioner,


          Petition for a Writ of Mandamus to the U.S. District Court for the District of
            Massachusetts in Case No. 1:14-cv-14176 (Hon. Allison D. Burroughs).


                             PETITION FOR WRIT OF MANDAMUS

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                                                      i
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                      CORPORATE DISCLOSURE STATEMENT

            The Reporters Committee for Freedom of the Press is an unincorporated

      nonprofit association with no parent company and no stock.




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                                       INTRODUCTION

             This Petition arises from the exceptionally high-profile trial in Students for

       Fair Admissions, Inc. v. President & Fellows of Harvard College, No. 1:14-cv-

       14176 (D. Mass. Nov. 17, 2014), a suit alleging bias against Asian-American

       applicants to Harvard College that has since reached the Supreme Court. Despite

       intense public interest in the case, the District Court resolved to maintain under

       seal portions of the transcripts of sidebars held during that 2019 trial, including—

       among other details of obvious public concern—an anti-Asian-American joke that

       a federal official made to Harvard’s dean of admissions, and a colloquy about the

       Court’s own possible need to recuse. See Add. 96–08; Add. 145–47. It reached

       that decision in a minute order after closed hearings at which only the parties

       participated, despite a timely motion by the Reporters Committee for Freedom of

       the Press (“Petitioner”) to intervene and be heard on behalf of the press and public.

             The District Court’s cursory resolution of the important public access

       questions presented by this case flouts precedent and demands correction. As no

       party disputed,1 the common law and First Amendment guarantee the public

       presumptive access to the transcripts of sidebars held during civil trials. See Ark.

       Tchr. Ret. Sys. v. State St. Bank & Tr. Co., 404 F. Supp. 3d 486, 512 n.16 (D.

       Mass. 2018). And the District Court’s reasons for concluding those presumptions


       1
             See Add. 16–17; Add. 14.

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       were overcome with respect to the information that it decided to maintain under

       seal—offered in a text-only docket entry, see Add. 5–6––are plainly insufficient.

       Remarkably, for instance, the Court explained the recusal colloquy would remain

       sealed because “nobody has a right to dispute my impartiality on that except the

       parties that were involved in the case,” Add. 72, a straightforward rejection of the

       core logic of the right of access: that transparency “allows the citizenry to monitor

       the functioning of our courts, thereby insuring quality, honesty and respect for our

       legal system,” FTC v. Standard Fin. Mgmt. Corp., 830 F.2d 404, 410 (1st Cir.

       1987) (emphasis added) (citation and internal quotation marks omitted).

             The District Court’s procedural handling of the access questions was

       likewise patent error. Where a party seeks to seal judicial proceedings or records,

       “representatives of the press and general public must be given an opportunity to be

       heard on the question of their exclusion,” Globe Newspaper Co. v. Superior Court,

       457 U.S. 596, 609 n.25 (1982) (citation and internal quotation marks omitted), and

       it should go without saying that a “meaningful opportunity to be heard” means a

       chance “to be heard before any contrary decision is made.” United States v.

       Edwards, 823 F.2d 111, 119 (5th Cir. 1987); see also United States v. Kravetz, 706

       F.3d 47, 59 (1st Cir. 2013). Here, the District Court announced its ruling after

       negotiating a resolution with the parties behind closed doors and dismissed the

       possibility of public input as “moot,” a clear violation of “our Nation’s tradition of



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       doing justice out in the open, neither ‘in a corner nor in any covert manner.’” Doe

       v. Mass. Inst. of Tech., 46 F.4th 61, 68 (1st Cir. 2022) (quoting Richmond

       Newspapers, Inc. v. Virginia, 448 U.S. 555, 567 (1980) (plurality opinion)).

             Advisory mandamus is the appropriate means for this Court to correct those

       errors and resolve the “important questions bearing upon the constitutional and

       common-law rights of public access to judicial records” presented here. In re

       Providence J. Co., 293 F.3d 1, 9 (1st Cir. 2002). For the reasons herein, Petitioner

       respectfully asks this Court to issue a writ of mandamus, reverse the denial of

       Petitioner’s motion to intervene, and order that the remaining portions of the

       sidebar transcripts be unsealed.




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                              STATEMENT OF JURISDICTION

             This Court has mandamus jurisdiction to answer the “important questions

       bearing upon the constitutional and common-law rights of public access to judicial

       records” presented here. In re Providence J. Co., 293 F.3d at 9; see also In re

       Boston Herald, Inc., 321 F.3d 174, 177 (1st Cir. 2003); In re Globe Newspaper

       Co., 920 F.2d 88, 90 (1st Cir. 1990).2




       2
             Petitioner has also appealed the District Court’s order, see Add. 93–95, a
       two-fold approach this Court has endorsed as the “prudent[]” means of ensuring
       “prompt review” of access questions. In re Boston Herald, 321 F.3d at 177. But
       mandamus is preferred even where an appeal would also lie “[b]ecause of the
       perishable nature of news” and the risk of “the delay entailed by a direct appeal.”
       San Jose Mercury News, Inc. v. U.S. District Court, 187 F.3d 1096, 1099 (9th Cir.
       1999).

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                                 STATEMENT OF THE CASE

             I.     Plaintiff challenges Harvard’s admissions policies, alleging bias
                    against Asian-American applicants.

             On November 17, 2014, Students for Fair Admissions, Inc. (“SFFA”) filed

       suit against the President and Fellows of Harvard College (“Harvard”), alleging

       that the university follows “racially and ethnically discriminatory policies and

       procedures in administering [its] undergraduate admissions program . . . in

       violation of Title VI of the Civil Rights Act.” Complaint at 1, Students for Fair

       Admissions, Inc. v. President & Fellows of Harvard Coll., No. 1:14-cv-14176 (D.

       Mass. Nov. 17, 2014). SFFA describes itself as “a coalition of prospective

       applicants and applicants to higher education institutions who were denied

       admission to higher education institutions, their parents, and other individuals who

       support the organization’s purpose and mission of eliminating racial discrimination

       in higher education admissions.” Id. at 7. Harvard calls SFFA “a vehicle designed

       to advance the policy preferences of its controlling founder”—overturning

       affirmative action. Br. in Opposition at 37, Students for Fair Admissions, Inc. v.

       President & Fellows of Harvard Coll., No. 20-1199 (U.S. May 17, 2021).

             Among other objections to Harvard’s policies, SFFA argued that

       “[s]tatistical evidence reveals that Harvard uses ‘holistic’ admissions to disguise

       the fact that it holds Asian Americans to a far higher standard than other students.”

       Complaint, supra, at 4. On September 30, 2019, after a fifteen-day bench trial, the


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       District Court ruled in favor of Harvard on all counts. Students for Fair

       Admissions, Inc. v. President & Fellows of Harvard Coll., 397 F. Supp. 3d 126 (D.

       Mass. 2019). This Court affirmed. Students for Fair Admissions, Inc. v. President

       & Fellows of Harvard Coll., 980 F.3d 157 (1st Cir. 2020). The Supreme Court of

       the United States granted SFFA’s petition for writ of certiorari, Students for Fair

       Admissions, Inc. v. President & Fellows of Harvard Coll., 142 S. Ct. 895 (2022),

       and heard oral argument on October 31, 2022.

             The case is “the biggest challenge to affirmative action in a generation.”

       Matthew Schwartz, Affirmative Action Faces Toughest Test in a Generation,

       Bloomberg Law (Oct. 25, 2022), https://perma.cc/LZG6-7DFM. The trial was

       extensively covered in the national media, see Nick Anderson, Harvard

       Admissions Trial Opens with University Accused of Bias Against Asian Americans,

       Wash. Post (Oct. 15, 2018), https://perma.cc/ANE5-DG8X, and the spotlight only

       brightened when the Supreme Court granted review, see Editorial Board, Opinion:

       On Race-Conscious University Admissions, SCOTUS Should Follow Precedent,

       Wash. Post (Oct. 30, 2022), https://perma.cc/R2GN-2EAN. The Supreme Court’s

       decision has the potential to transform higher education admissions. See Mary

       Louise Kelly & Ian Millhiser, The Supreme Court Could End Affirmative Action.

       What Could Happen Next?, NPR (Nov. 4, 2022), https://perma.cc/N7NC-UED2.




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            II.     The Reporters Committee moves to intervene to unseal
                    transcripts of sidebars held during the trial.

             Despite that keen public interest, substantial portions of the District Court

       record remain sealed, including transcripts of sidebars held during the trial. On

       November 11, 2022, Professor Jeannie Suk Gersen of Harvard Law School––who

       has covered the case for the New Yorker, see, e.g., Jeannie Suk Gersen, Education

       After Affirmative Action, New Yorker (Oct. 29, 2022), https://perma.cc/C3YB-

       65G2––submitted a letter to the District Court requesting that those transcripts be

       unsealed, see Add. 8. Harvard initially opposed any unsealing, see Add. 9; SFFA

       opposed unsealing “identifying information about applicants” but otherwise

       supported unsealing the transcripts, Add. 11. The District Court held a status

       conference on November 21, after which it gave the parties until December 5 to

       review the transcripts and file briefs stating their respective positions. See Add. 4.

             On December 5, 2022 the parties filed short letter briefs. See Add. 13–15;

       Add. 16–19. Two days later, Petitioner filed a motion to intervene for the limited

       purpose of asserting the rights of the press and public to access sealed judicial

       records, including the sidebar transcripts. See Add. 20–25. As Petitioner’s motion

       explained, the process the District Court apparently intended to follow—“minimal

       public briefing followed by a closed hearing at which only the parties’ views

       [would] be heard”—would deny the public a meaningful opportunity to be heard

       on the continued sealing of the transcripts. Add. 21. In particular, Petitioner


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       argued that the lack of an opportunity to review the parties’ proposed redactions in

       context, coupled with the lack of detail in the justifications offered by their briefs,

       would deny the public “the chance to ‘directly rebut’ the proffered rationale for

       secrecy that due process and the First Amendment require.” Add. 21–22 (quoting

       In re Cap. Cities/ABC, Inc’s Application for Access to Sealed Transcripts, 913

       F.2d 89, 95 (3d Cir. 1990)). Petitioner therefore moved the District Court for an

       opportunity to respond in writing to the parties’ proposed redactions, in context,

       and a public hearing on the merits before the District Court ruled on the propriety

       of continued sealing. See Add. 23. SFFA did not oppose limited-purpose

       intervention; Harvard opposed the motion in its entirety. Add. 25.

             The District Court held a closed status conference with the parties on

       December 9. See Add. 26–58. As a subsequently released transcript explains, the

       District Court “didn’t read” Petitioner’s motion to intervene before deciding it

       would hold “one more sealed hearing where I could give [the parties] my rulings,”

       only after which it would “do a public hearing.” Add. 48, 51. The Court held

       another closed status conference with the parties on December 15, 2022, see Add.

       63,3 followed by a public proceeding immediately after that session, Add. 59–80.



       3
              There was no public notice of the closed hearing on December 15. In
       response to Petitioner’s request for a public transcript of that closed hearing, the
       District Court stated: “This morning’s hearing wasn’t sealed. It just wasn’t—I
       mean, I probably will seal it, but it wasn’t sealed. It was just not well attended.”

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           III.     The District Court denies Petitioner’s motion to intervene and
                    orders that portions of the sidebar transcripts remain sealed.

             At the public proceeding on December 15, the District Court announced that

       it had “met with the parties briefly th[at] morning and gave them my rulings” as to

       what would remain sealed. Add. 63. The District Court also disclosed that it had

       reached an understanding with the parties that they “do not intend to appeal what I

       have done.” Id. The purpose of the public proceeding, the District Court said, was

       only to “explain to [Professor Suk] Gersen and all the representatives from the

       [Reporters] Committee for Freedom of the Press what I’ve done here and why.”

       Id. When Petitioner’s counsel asked if the Reporters Committee or other members

       of the public would “have an opportunity to respond to what has been withheld in

       writing before the Court finalize[d] that ruling,” Add. 72, the District Court

       responded, “you can file what you want” but “I don’t see revising my ruling in any

       significant way,” Add. 72–73.

             The District Court explained that three categories of information in the

       sidebar transcripts would remain sealed. The first was a colloquy on the need (or

       not) for the District Court’s recusal. See Add. 145–47. As was widely reported in

       the news media, an anonymous individual “sent a mass email to the reporters

       covering the trial suggesting that Judge Burroughs was biased against Harvard



       Add. 73. As the December 9 hearing transcript makes clear, that representation
       was false.

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       because the college had not accepted her,” prompting a sidebar with “considerable

       debate, along with a few chuckles.” Anemona Hartocollis, Presiding over the

       Harvard Admissions Trial: A Judge Who Was Rejected from Harvard, N.Y. Times

       (Oct. 22, 2018), https://perma.cc/AN4S-QYYS. The District Court explained it

       was keeping that sidebar under seal “by the agreement of the parties” and that

       “nobody has a right to dispute my impartiality on that except the parties.” Add. 72.

       The District Court also suggested that the recusal sidebar fell within the scope of

       the parties’ apparent agreement to seal any and all “applicant information.” Id.

             The second category of information kept under seal consisted of “subjective

       observations” that the District Court and Harvard’s trial counsel made during a

       sidebar about the demeanor of a witness—Harvard Dean Rakesh Khurana—during

       a line of questioning that touched on a family tragedy. Add. 65. Khurana’s

       testimony took place in open court, see Aidan F. Ryan, In First Day of Testimony,

       Khurana Says It’s Okay Harvard Skews Wealthy, The Crimson (Oct. 23, 2018),

       https://perma.cc/JY6J-TXJW, but the Court concluded that “our perception of his

       reaction” should nevertheless be sealed “in the interest of his privacy,” Add. 65.

             The final category sealed was the text of a “poor, ill-advised, and in bad

       taste joke” sent to Harvard Dean William Fitzsimmons by an individual involved

       with a 1990 federal probe of Harvard’s admissions practices, which “referenced

       certain Asian stereotypes.” Id. SFFA had obtained the exchange via a Freedom of



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       Information Act request and unsuccessfully sought to introduce it at trial. See Add.

       98, 106–07. While the Court acknowledged that the public “may well have other

       means of getting that” information––via public records requests––the District

       Court declined to make it available “through this proceeding.” Add. 69. And

       while the District Court concluded that Dean Fitzsimmons’ reaction to the “joke”

       should be unsealed because of the legitimate public interest in understanding the

       evidentiary dispute, it found that the “joke” itself should remain sealed to protect

       the federal employee’s privacy. See Add. 65.

             Finally, the District Court explained that it would be denying Petitioner’s

       motion to intervene as “moot by virtue of the fact that in one way or another we’re

       giving them everything that they’ve asked for.” Add. 67. When Professor Suk

       Gersen asked if a transcript of the closed hearings would be unsealed so that the

       public could understand the arguments underpinning the Court’s disposition, the

       District Court answered, “I’m not sure there’s anything to be gained about what

       people were thinking about . . . .” Add. 70. When Professor Suk Gersen pressed

       the issue, the District Court accused her of being “greedy.” Add. 77.

             On December 19, the District Court issued its minute order directing that the

       transcripts be redacted for the reasons given and denying Petitioner’s motion to

       intervene. See Add. 4–6. On December 29, Petitioner filed a motion for

       reconsideration of the District Court’s order. See Add. 80–90. SFFA filed a



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       response objecting to any disclosure of information that would identify an

       applicant to Harvard but otherwise took no position with respect to

       reconsideration. See Add. 91–92. Harvard did not respond. As of this writing, the

       District Court has not acted on that motion.

             On January 18, 2023, Petitioner filed a notice of appeal from the District

       Court’s order. See Add. 93–95. This Petition followed.




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                                  SUMMARY OF ARGUMENT

             The District Court’s resolution of the important transparency questions

       presented by this case was patently flawed—both substantively and procedurally.

             The common law and First Amendment guarantee the press and public

       presumptive access to the transcripts of sidebars held during civil trials. The

       District Court’s minute order does not—and could not—provide the requisite

       compelling reasons for finding that either presumption is overcome as to any of the

       information the District Court resolved to maintain under seal.

             Nor is there justification for the District Court’s decision to negotiate the

       extent of sealing with the parties in closed hearings, denying the public a

       “meaningful opportunity to be heard before any contrary decision [was] made.”

       Edwards, 823 F.2d at 119. The predictable result was an order that erroneously

       adopts the parties’ preferences without regard to the public interest. For the

       reasons herein, this Court should issue a writ of mandamus vacating the minute

       order, reverse the denial of Petitioner’s motion to intervene, and order that the

       transcripts be unsealed.

                                          ARGUMENT

        I.   Advisory mandamus is appropriate here.

             This Court’s advisory mandamus power extends to those cases where the

       question presented is “an unsettled one of substantial public importance,” a



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       question “likely to recur” if left unaddressed, and one where “deferral of review

       would potentially impair the opportunity for effective review.” United States v.

       Pleau, 680 F.3d 1, 4 (1st Cir. 2012) (en banc). As this Court has often observed,

       cases involving “important questions bearing upon the constitutional and common-

       law rights of public access to judicial records” fit the bill. In re Providence J. Co.,

       293 F.3d at 9; see also In re Boston Herald, 321 F.3d at 177; In re Globe

       Newspaper Co., 920 F.2d at 90. Not only do access controversies raise systemic

       issues of judicial administration, but they also go to the core of judicial power

       because “[d]istrust is toxic to the judiciary’s authority.” Mass. Inst. of Tech., 46

       F.4th at 69. Review cannot be deferred because “even a one to two day delay” in

       unsealing records “impermissibly burdens the First Amendment” rights of the

       public. Globe Newspaper Co. v. Pokaski, 868 F.2d 497, 507 (1st Cir. 1989).

             This Court has yet to address whether judicial records in civil cases––or

       sidebar transcripts in particular––are presumptively accessible under the First

       Amendment, but the issue recurs in every civil proceeding in this Circuit. See

       Courthouse News Serv. v. Quinlan, 32 F.4th 15, 20 (1st Cir. 2022). And as the

       District Court’s perfunctory discussion of the interests that it concluded justify

       sealing makes clear, courts in this Circuit would benefit from further guidance on

       the considerations that can––or just as importantly cannot––overcome the

       presumptions of access. Cf. Mass. Inst. of Tech., 46 F.4th at 70 (recognizing “the



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       need for greater clarity and predictability” in the related context of pseudonymity).

       “[A]n immediate adjudication of the matter will clarify matters for judges,

       litigants, lawyers, and journalists in a wide range of cases,” making advisory

       mandamus appropriate here. In re Providence Journal Co., 293 F.3d at 11.4

       II.   The common law and First Amendment presumptions of access attach
             to the sidebar transcripts.

             As the District Court recognized––and as neither party disputed––the

       common law and First Amendment presumptions of access attach to the sidebar

       transcripts at issue. See Minute Order; see also Ark. Tchr. Ret. Sys., 404 F. Supp.

       3d at 512 n.16 (applying presumption of access to unseal sidebar transcript relevant

       to a motion for recusal).5 First principles make the same point clear.

             A.     The common law presumption applies.

             Under the common law, the public has a qualified right “to inspect and copy

       public records and documents, including judicial records and documents.” Nixon



       4     While this Court has typically addressed access questions through advisory
       mandamus, see In re Providence Journal Co., 293 F.3d at 11, supervisory
       mandamus also would be appropriate. The District Court’s order “is palpably
       erroneous.” Da Graca v. Souza, 991 F.3d 60, 64 (1st Cir. 2021) (citation omitted).
       And because “[t]he loss of First Amendment freedoms, for even minimal periods
       of time, unquestionably constitutes irreparable injury,” Roman Cath. Diocese of
       Brooklyn v. Cuomo, 141 S. Ct. 63, 67 (2020) (citation omitted), sealing presents a
       “special risk of irreparable harm,” Da Graca, 991 F.3d at 64 (citation omitted).
       5
              SFFA argued the presumptions attach, see Add. 16–17; Harvard argued only
       that the presumptions were overcome in part on the facts of this case, see Add. 14.

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       v. Warner Commc’ns, Inc., 435 U.S. 589, 597 (1978). That right “extends to

       judicial records in civil proceedings,” In re Providence J. Co., 293 F.3d at 13 n.5,

       and, as other circuits have concluded, guarantees a presumption of access to

       sidebar transcripts in particular. United States v. Smith, 787 F.2d 111, 115 (3d Cir.

       1986). Sidebar conferences are an “integral part” of trials, id. at 114, and they

       often––as here––provide the setting in which “evidentiary or other substantive

       rulings” are made, id. at 115; see also Ark. Tchr. Ret. Sys., 404 F. Supp. 3d at 512

       n.16. Though they may take place out of public earshot, the public’s interest in

       access after-the-fact is hardly diminished. To the contrary, “if there has been no

       contemporaneous observation, the public interest in observation and comment

       must be effectuated in the next best possible manner”––by unsealing a transcript.

       Smith, 787 F.2d at 114.

             B.     The First Amendment presumption applies.

             The First Amendment right of access likewise attaches to the sidebar

       transcripts.6 To determine whether the First Amendment presumption of access

       applies to a class of records, courts look to two complementary considerations:



       6
             Though this Circuit has yet to address whether the First Amendment right of
       access attaches in civil proceedings, see Quinlan, 32 F.4th at 20 (assuming it does),
       this Court recently noted that “each of our sister circuits that has considered
       whether the right extends to at least some documents and proceedings in civil cases
       concluded that it does,” id. at 20 n.8 (collecting cases).



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       “experience and logic.” Press-Enter. Co. v. Superior Court, 478 U.S. 1, 9 (1986).

       When the presumption attaches, redactions can be justified—if at all—only “by an

       overriding interest based on findings that closure is essential to preserve higher

       values and is narrowly tailored to serve that interest.” In re Providence J. Co., 293

       F.3d at 11 (quoting Press-Enter. Co. v. Superior Court, 464 U.S. 501, 510 (1984)).

             Experience supports access to sidebar transcripts. “Historically, post-trial

       transcript access has been granted as soon as the factors which prompted hearing

       closure have been resolved.” Phoenix Newspapers, Inc. v. U.S. District Court, 156

       F.3d 940, 947 (9th Cir. 1998). And intuitively so, because the justifications for

       holding a proceeding out of earshot in the first instance—avoiding prejudicing the

       jury, say—may have no force with respect to the subsequent transcript. See id.; see

       also Edwards, 823 F.2d at 118 (finding a constitutional right of access to

       transcripts of chambers conferences because “the availability of the transcript is the

       key to satisfying the constitutional values of public scrutiny” where the public is

       excluded in real time). That experience of access is reinforced by the fact that

       sidebar transcripts are presumptively accessible to the public at common law, as

       discussed above. See In re Providence J. Co., 293 F.3d at 10 (noting that “the

       jurisprudence discussing the First Amendment right of access . . . has been derived

       in large measure from the jurisprudence that has shaped the common-law”); see

       also Hartford Courant Co. v. Pellegrino, 380 F.3d 83, 92 (2d Cir. 2004) (courts



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       have “generally invoked the common law right of access to judicial documents in

       support of finding a history of openness”).

             Logic too supports a constitutional presumption of access. Sidebars are an

       “integral” part of a trial. Smith, 787 F.2d at 114; see also NBC Subsidiary (KNBC-

       TV), Inc. v. Superior Court, 980 P.2d 337, 363 (Cal. 1999) (the “assertion that

       chambers proceedings are categorically ‘not part of the trial process’—and hence

       are not subject to the First Amendment right of access—is erroneous”). They can

       yield “substantive rulings” that the public is entitled to understand, Smith, 787 F.2d

       at 114, as they did in this case. And by shedding light on the court’s reasoning or

       the parties’ arguments, access to sidebar transcripts advances the core logic of the

       right of access: “contribut[ing] ‘assurance that the proceedings were conducted

       fairly [and] discouraged . . . decisions based on secret bias or partiality.’” Pokaski,

       868 F.2d at 503 (quoting Richmond Newspapers, 448 U.S. at 569).

      III.   The District Court erred in concluding that the common law and First
             Amendment presumptions of access were overcome with respect to
             portions of the sidebar transcripts.

             Parties attempting to overcome either presumption of access face a daunting

       task. “Only the most compelling reasons can justify non-disclosure of judicial

       records” covered by the common law right. Standard Fin. Mgmt. Corp., 830 F.2d

       at 410 (citation omitted). The constitutional right, for its part, can “only be

       overcome ‘by an overriding interest based on findings that closure is essential to



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       preserve higher values and is narrowly tailored to serve that interest.’” In re

       Providence J. Co., 293 F.3d at 11 (quoting Press-Enter. Co., 464 U.S. at 510). In

       either context, the party advocating for secrecy bears the burden of demonstrating

       that the presumption is overcome. See Standard Fin. Mgmt. Corp., 830 F.2d at

       413 (common law); In re Globe Newspaper Co., 729 F.2d 47, 57 (1st Cir. 1984)

       (First Amendment). A district court may go astray in that analysis by “ignoring a

       material factor that deserves significant weight, relying on an improper factor, or,

       even if it mulls only the proper mix of factors, by making a serious mistake in

       judgment,” Siedle v. Putnam Invs., Inc., 147 F.3d 7, 10 (1st Cir. 1998), and this

       Court’s review is especially “rigorous” where judicial integrity is at stake, In re

       Providence J. Co., 293 F.3d at 10. This is such a case, and the District Court’s

       reasons for departing from the norm of transparency are inadequate on their face.

             A.     The District Court erred in maintaining under seal all “applicant
                    information,” however defined.

             The District Court’s justifications for sealing an undefined category called

       “applicant information,” Add. 6, fall short. For one, the fact that the parties agreed

       to seal that information does not demonstrate that those redactions are warranted;

       on the contrary, “when the parties are mutually interested in secrecy, the judge is

       [the public interest’s] only champion.” Binh Hoa Le v. Exeter Fin. Corp., 990 F.3d

       410, 421 (5th Cir. 2021). And beyond citing the parties’ stipulated preference for

       secrecy, the District Court’s order does not explain the boundaries of “applicant


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       information”; identify the specific privacy interests allegedly at stake; or consider

       the role any particular “applicant information” played in the judicial process.

             Petitioner is aware of no authority for the proposition that any information

       concerning a college application is––in and of itself, without reference to any

       particular personal details––sensitive enough to overcome the common law or First

       Amendment presumption of access. Cf. Brown v. Univ. of Kansas, 599 F. App’x

       833, 839 (10th Cir. 2015) (sealing only those portions of the record containing

       information about law school applicants who “disclose[d] criminal or disciplinary

       records”). The issue is made worse by the specific types of information that are

       apparently included under the heading of “applicant information” in this case.7


       7
              It is unclear from the redacted transcripts whether the agreement to seal
       “applicant information” was ultimately relied upon to seal anything other than
       discussion of the District Court’s own application to Harvard in the recusal
       colloquy. That information was apparently sealed in other documents in the case
       in the first instance by a minute order that contained no findings of any kind, see
       Order Granting Motion to Seal Document, Students for Fair Admissions, Inc. v.
       President & Fellows of Harvard Coll., No. 1:14-cv-14176 (D. Mass. Oct. 24,
       2016) (ECF No. 206), on the basis of an uncontested motion whose only rationale
       was that the information had been designated confidential under a stipulated
       protective order, see Plaintiff’s Assented-To Motion to File Under Seal at 1–2 ,
       Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll., No.
       1:14-cv-14176 (D. Mass. Oct. 20, 2016) (ECF No. 201). There can be no serious
       dispute that such a showing is insufficient to overcome the presumptions of access.
       See Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006)
       (“[T]he presumption of access is not rebutted where . . . documents subject to a
       protective order are filed under seal as attachments to a dispositive motion.”
       (alterations in original) (citation omitted)); Rushford v. New Yorker Mag., Inc., 846
       F.2d 249, 252–53 (4th Cir. 1988) (same); Taylor v. Grunigen, No. 19-CV-11947,
       2022 WL 313970, at *2 (D. Mass. Feb. 2, 2022) (“Beyond citing the terms of the

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             The category apparently extends, for instance, to information identifying

       “those challenging the admissions process,” Add. 17—presumably the members

       SFFA invoked to establish standing. But those individuals are not mere third

       parties; they are voluntary participants in the litigation who stepped forward to

       submit declarations to bolster their organization’s advocacy goals. See Plaintiff’s

       Opposition to Defendant’s Motion to Dismiss at 2–6, Students for Fair Admissions,

       Inc. v. President & Fellows of Harvard Coll., No. 1:14-cv-14176 (D. Mass. Oct.

       21, 2016) (ECF No. 204). Sealing that information is more akin to permitting a

       plaintiff to litigate under a pseudonym than to protecting “[t]hird-party” privacy,

       Add. 5, and this Circuit has already explained why there is a strong presumption

       that participants in litigation be named, see Mass. Inst. of Tech., 46 F.4th at 68–70.

             The countervailing justification for secrecy that SFFA offered––a chilling

       effect on challengers to college admissions policies, see Add. 15––fell well short

       of the only authority it cited, see Mass. Inst. of Tech., 46 F.4th at 71–72

       (characterizing “cases in which anonymity is necessary to forestall a chilling effect

       on future litigants” as exceptional ones involving, for instance, “intimate issues

       such as sexual activities” or a risk that “a potential party may be implicated in

       illegal conduct” (citations and internal quotation marks omitted)). There can be no


       protective order and noting the parties’ agreement, defendant fails to identify a
       sufficient factual basis of potential harm to seal the material.”).



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       serious comparison between the fear of being identified as a critic of college

       admissions practices and the fear of being identified as a perpetrator or victim of

       sexual violence. See id. at 63. And it isn’t difficult to see, either, how information

       about individuals “challenging the admissions process,” Add. 17, would be key to

       the public’s ability to evaluate the merits of the litigation, including Harvard’s

       argument that SFFA “is a vehicle designed to advance the policy preferences of its

       controlling founder” rather than “a genuine membership organization,” Br. in

       Opposition at 37, Students for Fair Admissions, Inc. v. President & Fellows of

       Harvard Coll., No. 20-1199 (U.S. May 17, 2021). The sealing of any and all

       “applicant information” on the parties’ say-so was error.

             B.     The District Court erred in maintaining under seal a colloquy
                    discussing the Court’s possible need to recuse.

             The generic sealing of all “applicant information” and the “agreement of the

       parties” is also the only rationale the District Court offered for sealing a discussion

       of its determination whether to recuse. But the same balance of interests cannot

       plausibly govern a passing discussion of a third party’s personal information and

       an extended colloquy on recusal, an issue that goes to the core logic of access: the

       public’s right to know proceedings have been conducted “fairly to all concerned,”

       without “secret bias or partiality.” Richmond Newspapers, 448 U.S. at 569.

             As other courts in this Circuit have recognized in this precise context—

       unsealing the transcript of a sidebar relevant to the potential need for a judge’s


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       recusal—public access to that material is keenly relevant to “respect for the legal

       system,” and the presumptions of access therefore have special force. Ark. Tchr.

       Ret. Sys., 404 F. Supp. 3d at 512 n.16. Any privacy interests at stake, for their part,

       are diminished by the fact that the colloquy discussed the District Court in its

       “public capacity,” In re L.A. Times Commc’ns LLC, 28 F.4th 292, 298 (D.C. Cir.

       2022), and information that is already public, see Hartocollis, supra. And

       Congress’s decision to exclude the educational information of unsuccessful

       applicants from the scope of the Federal Educational Rights and Privacy Act

       (FERPA), see 20 U.S.C. § 1232g(a)(6), only underlines that the District Court’s

       order cannot rest on a free-floating interest in sealing information that relates in

       some way to a college application, see Jennings v. Univ. of N. Carolina at Chapel

       Hill, 340 F. Supp. 2d 670, 682 (M.D.N.C. 2004), aff’d in part, vacated in part, 482

       F.3d 686 (4th Cir. 2007) (fact that information falls within a FERPA exception

       counsels against sealing); cf. Mass. Inst. of Tech., 46 F.4th at 76 (access analysis

       should be guided by “the background confidentiality regime”).

             The District Court engaged none of these points. Not only does the order

       ignore “a material factor that deserves significant weight,” it rests wholly on an

       “improper factor”—the parties’ agreement. Siedle, 147 F.3d at 10 (emphasis

       added). The recusal colloquy should be unsealed.




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             C.     The District Court erred in maintaining under seal a racist joke made
                    by a federal employee to Harvard’s dean of admissions.

             The District Court’s proffered justification for sealing an anti-Asian-

       American joke that a federal official made to Dean Fitzsimmons likewise falls

       short of what the common law and First Amendment require. The public cannot

       reasonably understand “the Dean’s response,” Add. 5, without knowing what the

       Dean was responding to, and it should go without saying that allegations of anti-

       Asian-American bias go to the merits of this litigation. The District Court’s

       reliance on the possibility that unsealing the proposed exhibit could risk confusion

       because the joke was written on Harvard stationery, see id. at 5–6, makes no sense:

       It has no relevance to whether the words should be unsealed where they appear in

       the transcripts. And the fact that the same document proposed as an exhibit can be

       obtained via FOIA, see Add. 98, vitiates any need for secrecy because “[p]ublicly

       available information cannot be sealed”––full stop, June Med. Servs., LLC v.

       Phillips, 22 F.4th 512, 520 (5th Cir. 2022); see also Kravetz, 706 F.3d at 63.

             Even if that weren’t the case, the “joke” speaks to misconduct by a federal

       official whose performance the public is entitled to evaluate. As this Court has

       already explained, the values underlying the First Amendment right of access are

       “clearly implicated” in cases involving “public concern over the integrity of

       government and its officials.” Pokaski, 868 F.2d at 503. The joke’s apparent




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       offensiveness makes it more—not less—important that the public be able to see it.

       See In re L.A. Times Commc’ns LLC, 28 F.4th at 298.

             D.     The District Court erred in maintaining under seal its own
                    commentary on the demeanor of a trial witness.

             Finally, it is difficult to understand how “the privacy rights of third parties”

       could justify non-disclosure of the District Court’s and counsel’s characterization

       of the demeanor of a witness who testified in open court. Add. 5. That material’s

       “relevance or value to the public” is in evaluating how the District Court managed

       an emotionally charged line of questioning and an attorney’s objection that

       opposing counsel had behaved inappropriately––the performance of an official

       function that squarely implicates public supervision of the judiciary. Id. And it

       should go without saying that no third-party privacy interest could be at stake in

       the Court or counsel’s characterization of testimony that members of the press and

       public saw for themselves at trial. See Ryan, supra, (describing the exchange in

       which counsel for SFFA “quizzed the dean on the acknowledgements listed in his

       Ph.D. ‘thesis’” that is apparently at issue in the redacted passages). The District

       Court erred by sealing that information with a cursory nod to third-party privacy.

      IV.    The District Court erred in denying the motion to intervene and
             denying Petitioner a chance to be heard before reaching its decision.

             Where parties hope to keep judicial records sealed, “representatives of the

       press and general public must be given an opportunity to be heard on the question



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       of their exclusion,” Globe Newspaper Co., 457 U.S. at 609 n.25 (citation omitted),

       and “permissive intervention is the procedurally correct vehicle” for the public to

       assert its rights, R & G Mortg. Corp. v. Fed. Home Loan Mortg. Corp., 584 F.3d 1,

       11 (1st Cir. 2009). But rather than give Petitioner––or any other member of the

       press and public––a chance to be heard on the asserted need for sealing, the

       District Court apparently reached a negotiated resolution with the parties behind

       closed doors. See Add. 63. The Court then denied Petitioner’s motion to intervene

       “as moot” even though the Court’s disposition had neither granted the relief sought

       nor made effective relief impossible. Add. 67. That was error.

             A.     Due process guarantees an opportunity to be heard before a decision
                    denying access is reached.

             It is black-letter law––in this and every other Circuit––that “notice and an

       opportunity to be heard [must] be given prior to the sealing of documents to which

       a right of access attaches.” Kravetz, 706 F.3d at 59 (citing In re Hearst

       Newspapers, LLC, 641 F.3d 168, 182 (5th Cir. 2011)). Transcripts of chambers or

       sidebar proceedings are no exception: “[I]f the presumption that transcripts will be

       released is to be effective, once the press files a motion for disclosure, it must be

       given a meaningful opportunity to be heard before any contrary decision is made.”

       Edwards, 823 F.2d at 119. No meaningful opportunity was provided here.

             The blanket sealing of the transcripts was never supported in the first

       instance by particularized findings or a party’s motion; instead, the records were


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       “seal[ed] as a matter of course.” Add. 151. As a result, the public had “absolutely

       no information concerning the[] particular subject matter” of the information under

       seal and was unfairly placed “at a severe disadvantage in trying to show that its

       First Amendment and common law rights of access” required disclosure. In re

       Cap. Cities/ABC, 913 F.2d at 95. Even after Professor Suk Gersen requested

       access, the parties offered only skeletal––and even misleading––characterizations

       of their secrecy interests, denying the public the opportunity to “directly rebut” the

       rationale for sealing that due process and the First Amendment require. Id.

             For instance, while Harvard “identifie[d] the redactions it [sought] by page

       number and line number, it [did] not provide similarly specific compelling

       reasons” to justify them. Kamakana, 447 F.3d at 1183–84. Instead, Harvard tied

       the justifications it offered by way of “example” to only a fraction of the redactions

       it proposed, leaving the public with no hint as to why Harvard believed concealing

       the rest was necessary. Add. 9. And even where the parties did tie their arguments

       to specific redactions, their characterizations of the transcripts’ contents were

       either too vague for the public to respond or obfuscated the issues at stake. Neither

       party’s submission disclosed, for instance, that one of the unsuccessful

       “applicants” whose “information” the parties agreed to maintain under seal was the

       District Court. See Add. 9, 11, 14–15, 16–18. And all these difficulties were

       compounded by the fact that the public could not review the parties’ proposed



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       redactions in context, even though all involved agreed that “the vast majority” of

       the transcripts need not be sealed. Add. 14.

              The result was that the public learned the true rationales advanced in support

       of sealing the portions of the transcript at issue only after the District Court

       reached its decision. But fundamental principles of due process make clear that a

       court may not require litigants to “resort to a motion to reconsider” as a substitute

       for “arguments [they] might have made before dismissal.” Miller v. Sam Houston

       State Univ., 986 F.3d 880, 890 (5th Cir. 2021); see also In re Wash. Post Co., 807

       F.2d 383, 392 (4th Cir. 1986) (availability of motion to unseal improperly sealed

       judicial records “does not cure the lack of an opportunity for a hearing with respect

       to the original decision to seal them”). Due process guaranteed Petitioner a chance

       “to correct or contradict arguments or evidence offered” in support of secrecy,

       United States v. Abuhamra, 389 F.3d 309, 322 (2d Cir. 2004), as well as an open

       hearing at which the public could have “elicited on the record from the sole

       part[ies] . . . familiar with the contents” of the transcripts their justifications for

       continued sealing, in order “to make a more focused argument” for access, In re

       Cap. Cities/ABC, 913 F.2d at 95. The District Court’s decision to resolve the case

       in private and announce its decision to the public as a fait accompli was error.

              B.     The Reporters Committee’s motion to intervene was not mooted by
                     the District Court’s decision to partially unseal the sidebar transcripts.




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             The District Court’s only acknowledgement of Petitioner’s request for an

       opportunity to be heard was its conclusion that its minute order “essentially

       provide[d] the relief requested and the motion [was] therefore moot.” Add. 6.

       That disposition makes no sense; the District Court neither granted the relief

       Petitioner sought nor otherwise made effective relief impossible.

             In keeping with the demands of due process, Petitioner had requested an

       opportunity to respond in writing to the parties’ proposed redactions, in context,

       and a public hearing before the District Court ruled on any need for continued

       sealing. See id. at 23 (moving the Court for access to proposed redactions to which

       the public could “meaningfully respond in writing,” a “subsequent hearing,” and

       “thereafter” a written ruling supported by findings specific enough to permit

       appellate review) (emphasis added); see also, e.g., Edwards, 823 F.2d at 119. And

       this Court’s precedent makes clear that Petitioner “should have been granted Rule

       24 intervenor status before the district court acted on its motion for access”

       because intervenor status is what entitles a non-party to a civil proceeding to file a

       full-fledged motion to unseal in the first place. Pub. Citizen v. Liggett Grp., Inc.,

       858 F.2d 775, 784 (1st Cir. 1988) (emphasis added).

             Here, the District Court simply ignored the motion to intervene and

       announced its disposition of the merits at the beginning of a public “hearing”––a

       disposition the Court had already reached after hearing arguments from the parties



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       behind closed doors. See Add. 63. Indeed, the Court repeatedly made clear that

       the only purpose of the public proceeding was “to explain to [Professor Suk]

       Gersen and all the representatives from the [Reporters] Committee for Freedom of

       the Press what I’ve done here[,]” and that the Court was neither interested in

       hearing from the public nor open to “revising my ruling in any significant way.”

       Add. 63, 73. And for the reasons given above, the disposition reached by the

       District Court (without any public input) does not square with the substantive

       standards governing public access. That was a denial of the relief requested, not a

       decision to “essentially” grant it. Add. 7.8 But even if the order’s terms had

       overlapped in part with Petitioner’s requested relief, a matter becomes moot “only

       when it is impossible for a court to grant any effectual relief whatever,” not when

       the relief ordered is merely similar or related to what a party requested. Chafin v.

       Chafin, 568 U.S. 165, 172 (2013) (emphasis added) (citation omitted).

             The District Court’s reliance on mootness to deny the motion to intervene

       was improper. Other Circuits have condemned nearly identical procedural errors–



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              Even if the District Court had styled its disposition as a denial of Petitioner’s
       bid to unseal the sidebar transcripts, it should nevertheless have granted intervenor
       status––a separate issue that precedes the merits. See Pub. Citizen, 858 F.2d at
       784; see also United States v. Chin, 913 F.3d 251, 253 (1st Cir. 2019) (noting that
       a district court “granted [a news organization’s] motion to intervene but otherwise
       denied in substantial part the motion to unseal the requested information”); In re
       Boston Herald, 321 F.3d at 176 (same); Standard Fin. Mgmt. Corp., 830 F.2d at
       407 (same); Anderson v. Cryovac, Inc., 805 F.2d 1, 4 (1st Cir. 1986) (same).

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       –where a district court has “entertained submissions in chambers from counsel and

       then reached a decision, which was not announced to the public until the very day

       the judge denied the motion to intervene.” United States v. Blagojevich, 612 F.3d

       558, 561 (7th Cir. 2010). This Court should do the same.

             C.     Petitioner satisfied the requirements for intervention.

             Finally, while the District Court offered no basis other than mootness for

       denying Petitioner’s motion to intervene, it bears underlining that Petitioner more

       than satisfied the requirements for intervention under Rule 24(b), which this Court

       has often explained “is an effective mechanism for third-party claims of access to

       information generated through judicial proceedings.” Pub. Citizen, 858 F.2d at

       783. Such intervention is appropriate where an applicant’s “claim or defense . . .

       shares with the main action a common question of law or fact” and where the

       motion is “timely” in the sense that it will neither “unduly delay [n]or prejudice the

       adjudication of the original parties’ rights.” Fed. R. Civ. P. 24(b).

             When a party moves to intervene for the limited purpose of unsealing

       judicial records, courts have uniformly recognized that the common law and First

       Amendment rights of access provide the common question of law or fact that Rule

       24(b) requires. See Comm’r v. Advance Local Media LLC, 918 F.3d 1161, 1173

       n.12 (11th Cir. 2019) (collecting cases). Petitioner’s motion to intervene was also

       timely. Where the First Amendment and common law rights of access attach, they



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       attach “today for the records of cases decided a hundred years ago as surely as

       [they] do[] for lawsuits now in the early stages of motions litigation.” Pub.

       Citizen, 858 F.2d at 786 (citation omitted). And here, Petitioner attempted to

       participate as soon as it was alerted that the District Court intended to establish a

       process for deciding whether and to what extent the sidebar transcripts should be

       unsealed. See Blagojevich, 612 F.3d at 561.

             Finally, no party could have been prejudiced, see Fed. R. Civ. P. 24(b)(3),

       by a full presentation of the arguments for unsealing the sidebar transcripts while

       they remained temporarily under seal, see Pub. Citizen, 858 F.2d at 786. The

       public’s rights, though, were plainly prejudiced by a truncated consideration of the

       question behind closed doors. The denial of the motion to intervene was error.

                                          CONCLUSION

             For the foregoing reasons, Petitioner respectfully urges the Court to issue a

       writ of mandamus vacating the minute order, reverse the denial of Petitioner’s

       motion to intervene, and order that the sidebar transcripts be unsealed.


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             1.     This brief complies with the type volume requirements of Fed. R.

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       Date: January 19, 2023                        /s/ Katie Townsend
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                                CERTIFICATE OF SERVICE

             I, Katie Townsend, hereby certify that on January 19, 2023, a copy of the

       foregoing was filed electronically using this Court’s CM/ECF System and

       dispatched via third-party commercial carrier for delivery within 3 days to:

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